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1                                UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3      WAYNE J. BASS,
4                                                       3:20-cv-0607-CLB
                                    Plaintiff,
5         v.
                                                        ORDER
6      ANDREW SAUL,
       Commissioner of the Social
7
       Security Administration,
8
                                 Defendant.
9

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11          Plaintiff has filed an application to proceed in forma pauperis in an action involving

12   judicial review of administrative action by the Secretary of Health and Human Services,

13   denying plaintiff’s claim for disability benefits under the Social Security Act.        In the

14   application, plaintiff listed minimal income and assets (ECF No. 1).         For good cause

15   appearing, plaintiff’s request to proceed in forma pauperis (ECF No. 1) is GRANTED.

16          IT IS ORDERED that the clerk of the court shall file the complaint. The movant herein

17   is permitted to maintain this action to conclusion without the necessity of prepayment of fees

18   or costs or the giving of security therefor. This order granting in forma pauperis status shall

19   not extend to the issuance of subpoenas at government expense.

20          IT IS FURTHER ORDERED that the clerk of the court shall issue summons to the

21   following:
                                 Andrew Saul, Commissioner
22                               Social Security Administration
                                 Office of General Counsel
23                               Room 611 Almeyer Building
24                               6401 Security Boulevard
                                 Baltimore, MD 21235
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                                U.S. Attorney General
1                               U.S. Department of Justice
2                               Ninth and Pennsylvania
                                Washington, D.C. 20530
3
                                United States Attorney
4                               400 S. Virginia Street, Suite 900
                                Reno, Nevada 89501
5

6          The clerk shall deliver the summons and sufficient copies of the complaint to the U.S.
7    Marshal for service. The clerk shall send plaintiff sufficient copies of service of process
8    forms (USM-285) for each defendant. Plaintiff shall have twenty (20) days in which to return
9    to the required forms USM-285 to the U.S. Marshal at 400 S. Virginia Street, 2nd Floor, Reno,
10   Nevada 89501.
11                  November 4, 2020
           DATED: __________________.
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14                                             UNITED STATES MAGISTRATE JUDGE

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